     Case 2:21-cv-05720-JAK-JDE Document 13 Filed 11/18/21 Page 1 of 1 Page ID #:361

                                                                 JS-6

 1
 2
 3
 4
 5
 6
 7
 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
11    TAQUAN GULLETT,                      ) Case No. 2:21-cv-05720-JAK-JDE
                                           )
12                      Petitioner,        )
                                           ) JUDGMENT
13                      v.                 )
                                           )
14    LUCY SALAS, et al.,                  )
                                           )
15                                         )
                        Respondents.       )
                                           )
16                                         )
17
18          Pursuant to the Order Re: Summary Dismissal of Action,
19          IT IS ADJUDGED that the Petition is denied, and this action is
20    dismissed without prejudice.
21
22            1RYHPEHU
      Dated: __________________
23
24                                             ______________________________
                                               JOHN A. KRONSTADT
25                                             United States District Judge
26
27
28
